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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DARREL REMILY and RANDAL    )
HANSEN,                     )
                            )
             Plaintiffs,    )                       No. 20-cv-7324
                            )
                         v. )                       Judge Jeffrey I. Cummings
                            )
FREEDOM DEVELOPMENT GROUP, )
LLC, et al.,                )
                            )
             Defendants.    )

                          MEMORANDUM OPINION AND ORDER

       Plaintiffs Darrel Remily and Randal Hansen bring this case against five corporate

entities—Freedom Development Group, LLC (“FDG”), JET Park, LLC (“JET Park”), 901

Center Street Holdings, LLC (“901 Center”), JET Hospitals, LLC (“JET Hospitals”), and Star

Real Estate, LLC (“Star Real Estate”)—and certain of their alleged owners and agents—John

Thomas, Kim Denkewalter, and Daniel Olswang—alleging breach of contract, conversion, fraud,

breach of fiduciary duty, and claims arising under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. §§1961–68.

       Defendants, except Denkewalter, move to: (1) strike portions of the complaint pursuant to

Federal Rule of Civil Procedure 12(f); and (2) dismiss the complaint pursuant to Rule 12(b)(6).

(Dckt. #51). For the following reasons, defendants’ motion to strike is denied and their motion

to dismiss is granted in part and denied in part.
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I.       THE ALLEGATIONS OF PLAINTIFFS’ COMPLAINT

         The facts below are drawn from the allegations in the complaint, (Dckt. #1), (the

“Complaint”), and the exhibits attached thereto.1

         A.     The Parties.

         Both plaintiff Remily and plaintiff Hansen are residents of South Dakota. (Complaint

¶¶6–7). Remily is a friend and associate of Hansen. (Id. ¶37).

         Defendants Thomas, Denkewalter, and Olswang were or are the owners, managers, or

registered agents of defendant FDG. (Id. ¶¶17, 22–23, 34). JET Park, 901 Center, JET

Hospitals, and Star Real Estate (the “Entity Defendants”) were formed by FDG’s owners as

vehicles to purchase, broker, and operate real estate. (Id. ¶¶18–21). The principal offices of

FDG and the Entity Defendants are all located at the same address in Chicago, Illinois. (Id. ¶¶9–

12).

         B.     The Agreement to Form, and the Formation of, FDG.

         In May 2017, Hansen and Thomas, while prisoners under the custody of the United States

Bureau of Prisons in Minnesota, telephonically agreed with Denkewalter to form a corporate

entity engaged in the business of purchasing and reselling real estate (the “Agreement”). (Id.

¶35). As part of the Agreement, Hansen agreed to secure a loan from Remily for $100,000 in

exchange for a 25% ownership interest in the contemplated entity. (Id. ¶¶36, 40). Thomas and




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  When resolving a motion under Rule 12(b)(6), “in addition to the allegations set forth in the complaint
itself,” the Court may consider “documents that are attached to the complaint, documents that are central
to the complaint and are referred to in it, and information that is properly subject to judicial notice.”
Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013). Indeed, it is “well-settled in this circuit that
documents attached to a motion to dismiss are considered part of the pleadings if they are referred to in
the plaintiff’s complaint and are central to [its] claim.” Mueller v. Apple Leisure Corp., 880 F.3d 890,
895 (7th Cir. 2018) (cleaned up); Kuebler v. Vectren Corp., 13 F.4th 631, 636 (7th Cir. 2021) (same,
citing cases).


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Denkewalter also represented to Hansen that he would be included in “all [of the company’s]

future enterprises and investments.” (Id. ¶40).

         Despite the Agreement, Thomas, Denkewalter, and Olswang formed FDG—without

Hansen—on May 22, 2017. (Id. ¶38). Although he had no ownership interest in FDG, Hansen

nevertheless participated in conversations with Thomas and Denkewalter in May and June 2017

about FDG’s first acquisition—real estate located in Grand Rapids, Michigan (the “Grand

Rapids Property”). (Id. ¶39).

         C.     Remily’s Loan to FDG.

         Around the same time that the parties were discussing the Grand Rapids Property,

Hansen was also working on fulfilling his obligations under the Agreement. (Id. ¶¶39–42). To

that end, Remily, at Hansen’s request, sent Denkewalter a check for $100,000 in June 2017

though U.S. mail from South Dakota to Illinois. (Id. ¶42). Despite the fact that Remily loaned

$100,000 to FDG at Hansen’s behest, Hansen never received a 25% interest in FDG. (Id. ¶¶38,

70).

         On or around the time that Remily sent the money, Thomas and FDG signed a document

guaranteeing that FDG would repay Remily his $100,000 plus 10% either “at the close of the

[Grand Rapids Property] or one year,” whichever came first (the “Guaranty”). (Dckt. #1-2 at 2;

see also Complaint ¶41). Despite the fact that the Grand Rapids Property purchase never

materialized and over one year has passed since Remily loaned FDG the money, FDG has not

repaid Remily as provided by the Guaranty. (Complaint ¶46).

         D.     Additional Real Estate Acquisitions by FDG and the Entity Defendants.

         Rather than applying the proceeds from Remily’s loan toward the Grand Rapids Property,

defendants used the money to fund other acquisitions, some of which were successful. (Id. ¶69).




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Since May 2017, defendants have engaged in business ventures to secure other properties

including a parking ramp in Minnesota, an Ecolab building in Minnesota, a site in Elgin, Illinois,

and a site in Melrose Park, Illinois. (Id. ¶¶18–21, 47). Defendants did not include Hansen in

these investments or acquisitions. (Id. ¶¶48, 70).

           E.     Plaintiffs Filed this Case.

           In December 2020, plaintiffs filed this lawsuit alleging breach of contract, conversion,

fraud, and breach of fiduciary duty against Thomas, Denkewalter, Olswang, FDG, and the Entity

Defendants. Plaintiffs further allege claims arising under RICO against all defendants except

Denkewalter.

           F.     The Ziegler/Denkewalter Lawsuit.

           The Complaint also contains allegations which do not directly involve Hansen and

Remily. Specifically, the Complaint alleges that in 2018, Denkewalter convinced non-party

Michael Ziegler to loan $250,000 to FDG, via wire transfer, to facilitate the purchase of a

parking ramp in Minnesota through JET Park. (Id. ¶50). Denkewalter later resigned as manager

of FDG on September 13, 2018 and relinquished all but a 2% ownership interest in FDG. (Id.

¶51). Ziegler and Denkewalter then filed a lawsuit against FDG, the Entity Defendants, and

several other defendants, alleging that they failed to pay their obligation of $250,000 plus interest

to Ziegler and violated RICO . (Id. ¶¶50–51). Plaintiffs attach the Ziegler/Denkewalter

complaint, (the “Ziegler Complaint”), as an exhibit to their complaint in this lawsuit. (Dckt. #1-

2 at 6).

II.        LEGAL STANDARD

           To survive a Rule 12(b)(6) motion to dismiss, the complaint must “state a claim to relief

that is plausible on its face” for each count at issue. Bell. Atl. Corp. v. Twombly, 550 U.S. 544,




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570 (2007). A claim is plausible when the plaintiff “pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). When considering a motion to dismiss, the Court

construes “the complaint in the light most favorable to the [non-moving party] accepting as true

all well-pleaded facts and drawing reasonable inferences in [the non-moving party's] favor.”

Yeftich v. Navistar, Inc., 722 F.3d 911, 915 (7th Cir. 2013). However, the Court “need not

accept as true statements of law or unsupported conclusory factual allegations.” Id. Moreover,

plausibility is not satisfied by mere “labels and conclusions,” “formulaic recitation of the

elements of a cause of action,” or facts “merely consistent” with a defendant's liability.

Twombly, 550 U.S. at 545, 555.

III.     ANALYSIS

         Defendants move to strike pursuant to Rule 12(f) and to dismiss pursuant to Rule

12(b)(6). The Court addresses defendants’ arguments in turn below.

         A.     Defendants Have Failed to Demonstrate that the Ziegler Complaint and
                Related Allegations Should Be Stricken.

         Defendants move to strike from the Complaint any allegations regarding their alleged

failure to repay Ziegler. Under Rule 12(f), “[t]he court may strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

Fed.R.Civ.P. 12(f). “The decision to strike material is within the discretion of the court,” Tucker

Firm, LLC v. Alise, No. 11-CV-1089, 2012 WL 252790, at *2 (N.D.Ill. Jan. 25, 2012), and “the

court will only grant a motion to strike if the matter sought to be omitted has no possible

relationship to the controversy, may confuse the issues, or otherwise prejudice a party,” In re

Abbott Lab’ys, et al. Preterm Infant Nutrition Prods. Liab. Litig., No. 22 C 3737, 2023 WL

4564592, at *5 (N.D.Ill. July 17, 2023). Courts generally disfavor and infrequently grant



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motions to strike. See, e.g., Meridian Sec. Ins. Co. v. Roberts, No. 19-CV-00884-NJR, 2020 WL

1065465, at *1 (S.D.Ill. Mar. 5, 2020) (“As a general rule, motions to strike are disfavored and

rarely granted because striking a portion of a pleading is a drastic remedy and because it often is

sought by the movant simply as a dilatory or harassing tactic.”).

       Defendants argue that because they settled with Ziegler and paid him $275,000, “all

reference[s] to the Ziegler matter must be stricken,” the “Ziegler complaint [must be] withdrawn

as an exhibit,” and plaintiffs cannot rely on the alleged failure to pay Ziegler to establish their

RICO claim. (Dckt. #51-1 at 3). This argument is unpersuasive.

       Defendants cite to three exhibits—the Ziegler settlement agreement, a wire receipt from

FDG to Ziegler’s attorney for $275,000, and an affidavit signed by Thomas—to demonstrate that

Ziegler was paid. Defendants failed to submit these exhibits with their motion and they are not

before this Court. But, even if this Court were to accept defendants’ representations that it paid

Ziegler as true (which plaintiffs do not seem to dispute), defendants’ argument still fails.

       Another court in this District considered a virtually identical argument—raised by the

same defendants who have been sued in this case—in Denkewalter v. Thomas, et al., No. 20 C

5013, 2023 WL 3479165, at *5–6 (N.D.Ill. May 16, 2023). In Denkewalter, which was issued

before the parties submitted their briefing in this case, defendants argued that “all references to

the Ziegler matter must be stricken” and “Denkewalter [could not] rely on the alleged failure to

pay Ziegler for his RICO claim.” Id. at *5. Defendants attached the settlement agreement and

wire receipt for $275,000 to their motion. Id. The Denkewalter court nevertheless rejected

defendants’ argument because, like here, defendants failed to cite any authority in support of

their position and failed to explain “why paying Ziegler in 2021, after Ziegler initiated legal

action against them, shows that [d]efendants did not fraudulently misappropriate his money in




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2018.” Id.. The Denkewalter court also rejected the suggestion—which defendants raise again

here—that the plaintiff was seeking to impermissibly “resurrect” Ziegler’s claims. Id.; Dckt. #56

at 3. Plaintiffs are not seeking payment of the money that was owed to Ziegler nor are they

seeking liability on Ziegler’s behalf.

         To the extent that defendants argue that the Ziegler allegations are immaterial, that

argument also fails. As the Denkewalter court pointed out, in the Seventh Circuit, “a plaintiff

need not be harmed by each predicate act that makes up a RICO pattern of racketeering activity.”

Id. at *6, quoting RWB Services, LLC v. Hartford Computer Group, Inc., 539 F.3d 681, 686–88

(7th Cir. 2008). Thus, plaintiffs can “rely on the Ziegler allegations to establish a pattern, even if

[they] were not personally harmed by the failure to pay Ziegler in 2018–2019.” Denkewalter,

2023 WL 3479165, at *5. This Court agrees with the Denkewalter court’s reasoning, finds that

the Ziegler complaint and related allegations are relevant to the claims at issue here because they

concern an alleged pattern of racketeering, and therefore denies defendants’ motion to strike. Id.

at *5–6 (denying defendants’ motion to strike the Ziegler allegations).

         B.     Defendants’ Motion to Dismiss

         Defendants also seek to dismiss certain portions of the Complaint for failure to state a

claim.

                1.      Plaintiffs Have Failed to Plead Their RICO Claims with Particularity.

         Defendants assert that plaintiffs fail to sufficiently state a claim under RICO. The

starting point for pleading fraud claims under RICO is Rule 9(b), which requires all averments of

fraud to be stated with particularity. Graue Mill Dev. v. Colonial Bank & Trust Co., 927 F.2d

988, 992 (7th Cir. 1991). In particular, plaintiffs are required to plead in detail the “who, what,

when, where, and how” of the circumstances constituting the fraud. Wigod v. Wells Fargo Bank,




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N.A., 673 F.3d 547, 569 (7th Cir. 2012). At a minimum, a plaintiff must describe the “predicate

acts of fraud with some specificity and state the time, place, and content of the alleged false

representations, the method by which the misrepresentations were communicated, and the

identities of the parties to those misrepresentations.” Slaney v. The Int’l Amateur Athletic Fed’n,

244 F.3d 580, 597 (7th Cir. 2001). Since RICO liability is limited to defendants who have

“personally committed” prohibited acts, a plaintiff must describe predicate acts of fraud “by each

RICO Defendant with some specificity.” Guaranteed Rate, Inc. v. Barr, 912 F.Supp.2d 671, 684

(N.D.Ill. 2012); see Slaney, 244 F.3d at 597–98.

       Plaintiffs’ Complaint falls short of this pleading standard in multiple ways. To begin,

plaintiffs do not allege specific wrongdoing by the Entity Defendants. Instead, the Complaint

makes broad references to incidents of mail and wire fraud but the only mailings or wire

transfers described with any degree of specificity are the two loans sent to Denkewalter for

$100,000 and $250,000 by Remily and Ziegler, respectively. (Complaint ¶¶42, 50). Next,

plaintiffs generally allege that defendants transported and/or received money that was

“improperly siphoned from Plaintiffs,” without further details, (Id. ¶109), but these conclusory

allegations “fail to specify the time, place and content” of any misrepresentations or action by the

Entity Defendants and “therefore fall short of the particularity demanded by Rule 9(b).” Goren

v. New Vision Int’l, Inc., 156 F.3d 721, 730 (7th Cir. 1998).

       Finally, plaintiffs disregard the general principle that a complaint’s allegations should not

lump multiple defendants together, and that the allegations must instead “inform each defendant

of the specific fraudulent acts that constitute the basis of the action against the particular

defendant.” Vicom, Inc. v. Harbridge Merchant Servs., Inc., 20 F.3d 771, 778 (7th Cir. 1994).

Specifically, plaintiffs allege RICO violations against each of the eight defendants and generally




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refer to “the Defendants” in describing the alleged wrongful conduct but fail to identify which of

the eight defendants are being accused of engaging in which predicate acts. For these reasons,

plaintiff’s RICO claims do not pass muster under Rule 9(b). See Markovic v. TRU Funding LLC,

No. 21-CV-06628, 2023 WL 2612594, at *5 (N.D.Ill. Mar. 23, 2023) (dismissing RICO claims

where plaintiffs did not allege specific wrongdoing against corporate defendants and treated all

defendants as one); see also Ko v. Univ. of Potomac at Chicago LLC, No. 24 C 1455, 2024 WL

3694489, at *4 (N.D.Ill. Aug. 7, 2024) (dismissing claim subject to the heightened pleading

standard of Rule 9(b) against corporate defendants that “were impermissibly lumped together.”).

               2.      Remily’s Conversion Claim is Waived and is Otherwise Barred by the
                       Moorman Doctrine.

       Defendants argue that Remily’s claim for conversion must be dismissed under the

“economic loss doctrine,” also referred to as the “Moorman doctrine,” because the losses he

seeks to recover are based on defendants’ alleged breach of contract. Plaintiffs failed to respond

to defendants’ argument, and they have therefore waived this claim. See, e.g., Sroga v. Rendered

Servs. Inc., No. 19-CV-2299, 2019 WL 6173424, at *1 (N.D.Ill. Nov. 20, 2019) (“It is a

longstanding rule that a plaintiff waives his claims when he fails to develop arguments or fails to

respond to alleged deficiencies in a motion to dismiss.”) (citing Alioto v. Town of Lisbon, 651

F.3d 715, 721 (7th Cir. 2011)); Lekas v. Briley, 405 F.3d 602, 614 (7th Cir. 2005) (recognizing

that a complaint is subject to dismissal where a plaintiff does not file a response supporting the

legal adequacy of the complaint).

       Even if plaintiffs had not waived their conversion claim, the Court would still grant

defendants’ motion to dismiss under the Moorman doctrine. The Moorman doctrine prevents

recovery for most tort claims when the damages are purely economic. See Moorman Mfg. Co. v.

Nat’l Tank Co., 435 N.E.2d 443, 453 (Ill. 1982). The doctrine applies to conversion claims



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depending on the source of the duty breached, thus where the duty to the plaintiff arises from a

contract, such claims may not proceed. St George Invs. LLC v. QuamTel, Inc., No. 12-cv-9186,

2014 WL 812157, at *9–10 (N.D.Ill. Mar. 3, 2014) (collecting cases).

       Here, Remily’s conversion claim is based on a contractual duty. Specifically, Remily

brings a breach of contract claim alleging that defendants failed to pay him under the Guaranty

and that Thomas and FDG, through their personal guaranty, are liable for the sums thereunder.

(Complaint ¶57). Remily’s conversion claim incorporates his breach of contract allegations by

reference, (id. ¶60), then alleges that defendants “asserted dominion over and withheld from

Remily payment due under the Agreement and directed that monies owed be fraudulently

withheld, converted and expended on real estate acquisitions and/or personal benefit to

Defendants.” (Id. ¶63). Thus, both the breach of contract and conversion arise from the exact

same conduct: namely, defendants’ failure to repay Remily under the terms of the Guaranty.

Accordingly, Remily’s conversion claim is barred by the Moorman doctrine and must be

dismissed on its merits. See ACW Flex Pack LLC v. Wrobel, No. 22-CV-6858, 2023 WL

4762596, at *14 (N.D.Ill. July 26, 2023) (concluding conversion claim was barred by the

Moorman doctrine where the claim incorporated the breach of contract allegations by reference

and defendants’ duty was based on his contractor agreement); St George Invs. LLC, 2014 WL

812157, at *9 (dismissing conversion claims where defendant allegedly breached the agreement

by failing to pay on time and plaintiff brought claims for both breach of contract

and conversion arising from the exact same conduct).




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               3.      Hansen’s Breach of Contract Claim is Not Barred by the Statute of
                       Frauds.

       Next, defendants argue that Hansen’s breach of contract claim is barred under the statute

of frauds for two reasons—the alleged oral agreement could not be performed within one year,

and alternatively, it involved an interest in real estate. Neither argument is availing.

       The Court first turns to defendants’ temporal argument. Under Illinois’ statute of frauds,

“[an oral] contract is unenforceable only if it is impossible to perform the contract within one

year.” Hartbarger v. SCA Servs., Inc., 558 N.E.2d 596, 606 (Ill. 1990). Courts have interpreted

this to mean that where the alleged agreement is capable of performance within one year, the

statute of frauds is inapplicable. Id.

       Per the Complaint, Hansen—under the Agreement—would be granted ownership in the

formed company and included in all of the company’s future acquisitions and investments.

While defendants assert that Hansen was not granted an ownership interest in FDG within a year

of the Agreement, they do not persuasively explain how it was impossible for FDG to grant

Hansen his ownership in that time frame. Defendants’ argument that Hansen could not be

granted ownership within one year is directly at odds with the allegations in the Complaint which

indicate that other individuals, (namely Thomas, Denkewalter, and Olswang), were granted

ownership interests in FDG the same month the parties made the alleged oral agreement.

(Complaint ¶17).

       Defendants also fail to persuasively explain how it was impossible for FDG to complete

all its future acquisitions and investments within one year. Defendants liken this case to

Chiappe-Kay v. Barthel, where the Illinois Appellate Court determined that the plaintiff’s

agreement to sell the defendant tickets to at least one football game per year contemplated a

lifelong transfer of tickets which could not be performed within a year. 2013 IL App (2d)



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120975-U, ¶21. But the Complaint does not allege any similar lifelong agreement, and

defendants’ mere suggestion that FDG would complete acquisitions and investments extending

beyond one year is insufficient to demonstrate that performance within one year was impossible,

as required to invoke the statue of frauds. See Hartbarger, 558 N.E.2d at 606 (holding that while

a $200,000 payment to be made as part of an alleged oral agreement was scheduled to be made

in three transactions over a course of several years, the payment could have been made within

one year, and statute of frauds therefore did not apply); see also Indus. Specialty Chems., Inc. v.

Cummins Engine Co., 902 F.Supp. 805, 810 n.5 (N.D.Ill. 1995) (holding that although alleged

oral agreement for sale of chemicals did not specify duration, performance could have occurred

within one year so Illinois statute of frauds did not apply).

       Defendants also contend that the statute of frauds bars the parties’ oral agreement

because the alleged partnership involves the sale of real estate. However, this argument is

contrary to Illinois law.

       In Illinois, . . . joint ventures and partnerships formed for the development of real
       estate are generally exempt from the Statute of Frauds. Harmon v. Martin, 71
       N.E.2d 74, 82 (Ill. 1947) (stating that “such an agreement is not within the Statute
       of Frauds”); Fitch v. King, 116 N.E. 624, 624 (Ill. 1917) (holding that “an
       agreement for a partnership for the purpose of dealing and trading in lands for profit
       is not within the Statute of Frauds, and the existence of the partnership and the
       extent of each party’s interest in it may be shown by parol [evidence]”); VanHousen
       v. Copeland, 54 N.E. 169, 172 (Ill. 1899) (“An oral agreement to form a partnership
       for the purpose of trading in real estate for profit is not within the Statute of
       Frauds”).

Barnett v. Poag & McEwen Lifestyle Centers-Deer Park Town Ctr., No. 98 C 7783, 1999 WL

691850, at *4 (N.D.Ill. Aug. 26, 1999) (cleaned up). Defendants cite no precedent to the

contrary, and the Court denies their motion to dismiss Hansen’s breach of contract claim based

on the statute of frauds.




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               4.      Hansen’s Fraud Claim is Waived.

       Defendants argue that Hansen’s fraud claim must be dismissed because the alleged

misrepresentations—“to form a corporate entity,” (Complaint ¶35), and to “be included in the

ownership of FDG and all [its] future enterprises and investments,” (id. ¶40))—amount to

promissory fraud, or a promise of future conduct, which Illinois does not recognize as actionable.

(Dckt. #51-1 at 10–11); see HPI Health Care Servs. v. Mt. Veron Hosp., Inc., 545 N.E.2d 672,

682 (Ill. 1989). Rather than directly respond to defendants’ promissory fraud arguments in their

response brief, plaintiffs raise new arguments and legal theories, specifically that they adequately

pled the existence of a “collusive scheme” to defraud involving “the coordinated securing of

loans from Remily and Ziegler through and with intermediaries . . .” (Dckt. #55 at 7). Plaintiffs

fail to address defendants’ promissory fraud argument and their failure to do so results in the

waiver of that claim. See Sroga, 2019 WL 6173424, at *1; Lekas v. Briley, 405 F.3d 602, 614

(7th Cir. 2005).

       In any event, even if the Court were to consider the theories raised in the Complaint and

the new theories that plaintiffs raise in their brief, it nevertheless finds them unpersuasive. The

Seventh Circuit has recognized that promissory fraud is actionable “if it either is particularly

egregious or, what may amount to the same thing, it is embedded in a larger pattern of

deceptions or enticements that reasonably induces reliance and against which the law ought to

provide a remedy.” J.H. Desnick, M.D. v. American Broadcasting Cos., Inc., 44 F.3d 1345, 1354

(7th Cir. 1995). To invoke the scheme exception, the plaintiff must allege and then prove that, at

the time the promise was made, the defendant did not intend to fulfill it. Bower v. Jones, 978

F.2d 1004, 1011 (7th Cir. 1992) (“In order to survive the pleading stage, a claimant must be able

to point to specific, objective manifestations of fraudulent intent—a scheme or device. If he




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cannot, it is in effect presumed that he cannot prove facts at trial entitling him to relief.”)

(cleaned up).

        Plaintiffs fail to allege that at the time defendants made the purported promises they had

no intention of honoring them. The Complaint does allege that Hansen was never granted an

ownership interest in FDG and was excluded from FDG’s future investments, (Dckt. #1 ¶70),

and plaintiffs’ brief states that defendants refused to return Remily’s money and instead, used the

funds for their own personal benefit, (Dckt. #55 at 8). But the fact that defendants “subsequently

broke a promise is not evidence that [they] never intended to keep that promise when made. At

most this is evidence of breach of contract, not fraud.” Corley v. Rosewood Care Ctr., Inc. of

Peoria, 388 F.3d 990, 1007 (7th Cir. 2004) (cleaned up). Fraud “requires a showing of

deception at the time the promise is made,”—a showing plaintiffs fail to make here. Id.; see also

BPI Energy Holdings, Inc. v. IEC (Montgomery), LLC, 664 F.3d 131, 137 (7th Cir. 2011)

(“[T]he fact that a party breaks a contract doesn’t show that its promise to perform it had been

fraudulent when made—that is, that the party had never intended to perform it.”). Plaintiffs’

fraud claim is therefore dismissed.

                5.      Hansen’s Breach of Fiduciary Duty Claim is Dismissed Because
                        Hansen Has Not Alleged a Fiduciary Relationship.

        Defendants argue that Hansen’s breach of fiduciary duty claim should be dismissed

because plaintiffs fail to identify a fiduciary relationship between Hansen and defendants. The

Court agrees. The Complaint does not contain any allegations which establish a traditional

fiduciary relationship between Hansen and defendants, (e.g., attorney-client, employer-

employee, trustee-beneficiary, etc.), and plaintiffs do not cite any case law to demonstrate that a

fiduciary relationship is created when individuals agree to form a corporation that they plan to

use to engage in future business ventures. To the contrary, “normal trust between friends or



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businesses” even where there is “a slightly dominant business position, do[es] not operate to turn

a formal, contractual relationship into a confidential or fiduciary relationship.” See Carey

Electric Contracting, Inc. v. First National Bank of Elgin, 392 N.E.2d 759, 763 (Ill. 1979); Oil

Exp. Nat., Inc. v. Burgstone, 958 F.Supp. 366, 370–71 (N.D.Ill. 1997) (citing Carey). Hansen’s

breach of fiduciary duty claim is therefore dismissed.

               6.      Defendants’ Arguments Fall Short of Showing that the Claims
                       Against the Entity Defendants Should be Dismissed.

       Plaintiffs seek to pierce the corporate veil of the Entity Defendants to hold them liable for

the acts of FDG, Thomas, and Denkewalter. Although a corporation “is separate and distinct as

a legal entity from its shareholders, directors and officers and, generally, from other corporations

with which it may be affiliated,” Main Bank of Chicago v. Baker, 427 N.E.2d 94, 101 (Ill. 1981),

courts may pierce a corporation’s veil “when an individual or entity uses a corporation merely as

an instrumentality to conduct that person’s or entity’s business,” Laborers’ Pension Fund v. Lay-

Com, Inc., 580 F.3d 602, 610 (7th Cir. 2009) (cleaned up). Illinois law permits veil piercing

where: (1) “there is such a unity of interest and ownership that the separate personalities of the

corporation and the parties who compose it no longer exist,” and (2) “circumstances are such that

adherence to the fiction of a separate corporation would promote injustice or inequitable

circumstances.” Buckley v. Abuzir, 8 N.E.3d 1166, 1170 (Ill.App. 2014) (cleaned up).

       Plaintiffs allege that the Entity Defendants were “a mere alter ego of FDG” and that they

have “shared ownership, shared agents, shared management, and shared office space.”

(Complaint, ¶¶18-21; Dckt. #55 at 13). Plaintiffs also point out that the Ziegler complaint

attached to the Complaint provides additional specifics about how the various entities

commingled proceeds from the sale of properties. (Dckt. #55 at 13). Defendants, on the other




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hand, assert that plaintiffs fail to plead sufficient facts to “pierce the corporate veil” of the Entity

Defendants and hold them liable for the acts of FDG, Thomas, Denkewalter.

        Defendants raised a similar argument in Denkewalter. There, like here, defendants

described the allegations against the Entity Defendants as “general accusations” that “at all

relevant times, each Entity Defendant was a mere alter ego of FDG.” Denkewalter, 2023 WL

3479165 at *8; compare Dckt. #51-1 at 4. The Denkewalter court rejected defendants’ argument

concluding that defendants “overgeneralize[d] the allegations concerning the [Entity

Defendants], skirt[ed] over the specific allegations laid out in the SAC describing how they acted

as ‘alter egos’ for FDG and/or Thomas and Olswang,” and “even acknowledge[d] that the

Ziegler allegations ‘link’ the Entity Defendants to the claims at issue.” Denkewalter, 2023 WL

3479165 at *9. Defendants repeat these actions here, including their admission that the Ziegler

allegations “link” the Entity Defendants to the claims raised in the Complaint. (Dckt. #56 at 5–

7). This Court once more agrees with Denkewalter and rejects defendants’ argument for

dismissal of the Entity Defendants.

                7.      Plaintiffs’ Claims Against Olswang Are Waived.

        Defendants argue that the claims against Olswang must be dismissed because the

Complaint alleges no specific facts tying Olswang to the alleged wrongful conduct. Instead, the

Complaint merely alleges that Olswang: (1) was the registered agent and/or manager for several

of the corporate defendants; and (2) jointly engaged in the acts of FDG, Thomas, and

Denkewalter. Plaintiffs fail to respond to defendants’ argument and their claims against

Olswang are thereby waived. See Sroga, 2019 WL 6173424, at *1; see also U.S. v. Holm, 326




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F.3d 872, 877 (7th Cir. 2003) (“It is not the obligation of this court to research and construct the

legal arguments open to parties,” and “perfunctory and undeveloped arguments” are waived.).

                                         CONCLUSION

       For the reasons stated above, defendants’ motion, (Dckt. #51), is granted in part and

denied in part. Defendants’ motion to strike is denied. Plaintiffs’ RICO claim, conversion

claim, fraud claim, claim for breach of fiduciary duty, and claims against defendant Olswang are

dismissed without prejudice. Defendants’ motion to dismiss the Entity Defendants is denied.

Plaintiffs are granted until June 18, 2025 to file an amended complaint, to the extent that they

can do so consistent with this Memorandum Opinion and Order and the dictates of Federal Rule

of Civil Procedure 11.



DATE: May 28, 2025



                                                              ________________________
                                                              Jeffrey I. Cummings
                                                              United States District Court Judge




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